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 8                            UNITED STATES DISTRICT COURT

 9                     FOR THE CENTRAL DISTRICT OF CALIFORNIA

10
     UNITED STATES OF AMERICA,               CR No. 2:20-cr-00322-ODW
11
                 Plaintiff,                  I N F O R M A T I O N
12
                 v.                          [18 U.S.C. § 1349: Conspiracy to
13                                           Commit Wire Fraud; 18 U.S.C.
     RAMON OLORUNWA ABBAS,                   § 1956(h): Conspiracy to Engage in
14     aka “Ray Hushpuppi,”                  Money Laundering; 18 U.S.C.
       aka “Hush,”                           § 1956(a)(2)(B)(i): International
15                                           Money Laundering; 18 U.S.C.
                 Defendant.                  § 1957: Engaging in Monetary
16                                           Transactions in Property Derived
                                             from Specified Unlawful Activity;
17                                           18 U.S.C. § 2(a): Aiding and
                                             Abetting; 18 U.S.C. §§ 981 and 982
18                                           and 28 U.S.C. § 2461(c): Criminal
                                             Forfeiture]
19

20        The United States Attorney charges:
21                              INTRODUCTORY ALLEGATIONS
22        At times relevant to this Information:
23   A.   Defendant
24        1.     Defendant RAMON OLORUNWA ABBAS, also known as (“aka”) “Ray
25   Hushpuppi,” aka “Hush,” (“ABBAS”), was a resident of the United Arab
26   Emirates.
27   //
28   //
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 1   B.      Bank Accounts

 2           2.   The “Chase Account” was a bank account held at JP Morgan

 3   Chase Bank, N.A. (“Chase”), with the account number ending in 6628,

 4   which was held in Pearland, Texas.

 5           3.   The “CIBC Account” was a bank account held at Canadian

 6   Imperial Bank of Commerce, with the account number ending in 1716,

 7   which was held in Ontario, Canada.

 8   C.      Victims

 9           4.   The “Victim Law Firm” was a law firm in the State of New
10   York.
11           5.   The “Foreign Financial Institution” was a foreign bank
12   located in a European country (the “European Country”).
13           6.   The “Victim English Premier League Club” was a professional
14   soccer club located in the United Kingdom.
15           7.   The “Victim U.K. Company” was a company located in the
16   United Kingdom.
17   D.      Terminology
18           8.   A business email compromise (“BEC”) fraud occurs when a
19   hacker gains unauthorized access to an email account used by a
20   business or company, blocks or redirects communications to and/or
21   from the email account, and then uses the compromised email account
22   or a separate fraudulent email account to communicate with personnel
23   from a victim company (which may be the company to which the
24   compromised account belongs, or another company doing business with
25   that company), attempting to trick the victim-company personnel into
26   making an unauthorized wire transfer.
27           9.   A cyber-heist occurs where a hacker gains access to the
28   computer(s) of a bank without authorization and sends messages

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 1   through the Society for Worldwide Interbank Financial

 2   Telecommunication (“SWIFT”) communication system from the victim

 3   bank’s computer system, authorizing and causing fraudulent wire

 4   transfers to bank accounts used and controlled by conspirators.

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 1                                     COUNT ONE

 2                                [18 U.S.C. § 1349]

 3        10.   The United States Attorney re-alleges and incorporates here

 4   paragraphs 1 through 9 of the Introductory Allegations of this

 5   Information.

 6   A.   OBJECT OF THE CONSPIRACY

 7        11.   Beginning on an unknown date, but no later than on or about
 8   January 16, 2019, and continuing until on or about October 17, 2019,
 9   in Los Angeles County, within the Central District of California, and
10   elsewhere, defendant ABBAS, and unindicted coconspirator #1 (“UICC
11   1”) and unindicted coconspirator #2 (“UICC 2”), together with others
12   known and unknown to the United States Attorney, knowingly conspired
13   to commit wire fraud, in violation of Title 18, United States Code,
14   Section 1343.
15   B.   MEANS BY WHICH THE OBJECTS OF THE CONSPIRACY WERE TO BE
16        ACCOMPLISHED
17        12.   The objects of the conspiracy were to be accomplished, in
18   substance, as follows:
19              a.    Defendant ABBAS and UICC 1 would request from each
20   other a bank account or bank accounts that could be used to receive
21   fraudulently obtained funds, including funds that defendant ABBAS and
22   UICC 1 knew were obtained from BEC and cyber-heist schemes through
23   false or fraudulent pretenses, representations, and promises, and
24   concealment of material facts.
25              b.    Defendant ABBAS and UICC 1 would, in response to such
26   an inquiry, send to each other account information for a bank account
27   or bank accounts that could be used to receive fraudulently obtained
28   funds.   For such a bank account, defendant ABBAS and UICC 1 would, at

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     Case 2:20-cr-00322-ODW Document 11 Filed 07/29/20 Page 5 of 17 Page ID #:65



 1   a minimum, send the bank account number and the SWIFT code, or the

 2   international bank account number (“IBAN”).         The bank account would

 3   be opened in the name of a coconspirator or other person, to hide the

 4   fraudulent nature of the deposit, wire, or transfer, and to conceal

 5   and disguise the nature, location, source, ownership, and control of

 6   the proceeds, but would be used or controlled, directly or

 7   indirectly, by defendant ABBAS or UICC 1.

 8              c.    Defendant ABBAS and UICC 1, or their coconspirators,

 9   would, through false or fraudulent pretenses, representations, and

10   promises, and concealment of material facts, cause a victim to

11   deposit, wire, or transfer funds into the bank account(s) that had

12   been identified.

13                    i.    In a BEC fraud scheme, a coconspirator would

14   communicate with the victim-company -- fraudulently pretending to be

15   a company doing business with the victim-company -- and would provide

16   the victim-company with instructions to wire transfer a payment to

17   the bank account(s) identified to receive fraudulently obtained

18   funds.

19                    ii.   In a cyber-heist scheme, a coconspirator would

20   fraudulently send a message through the SWIFT system of the victim-

21   bank, directing a wire transfer from the victim-bank to the bank

22   account(s) identified to receive fraudulently obtained funds.

23              d.    Defendant ABBAS and UICC 1, or their coconspirators,

24   would withdraw the fraudulently obtained funds from the bank account,

25   and would further launder the funds through wire transfer(s) to

26   additional bank accounts in the names of persons other than defendant

27   ABBAS and UICC 1 and through other withdrawals -- sometimes with the

28   assistance of additional coconspirators, such as UICC 2 -- so as to

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 1   obtain the money and so as to conceal and disguise the nature,

 2   location, source, ownership, and control of the proceeds.

 3              e.     Defendant ABBAS and UICC 1 attempted to fraudulently

 4   obtain and launder hundreds of millions of dollars in this manner.

 5   C.   OVERT ACTS

 6        13.   In furtherance of the conspiracy, and to accomplish its
 7   objects, defendant ABBAS, and UICC 1 and UICC 2, together with others
 8   known and unknown to the United States Attorney, on or about the
 9   dates set forth below, committed and caused to be committed various
10   overt acts, in the Central District of California and elsewhere,
11   including, but not limited to, the following:
12        Overt Act No. 1:       On or about January 18, 2019, in response to
13   requests by UICC 1 for two bank accounts that could each receive €5
14   million wire transfers from a bank in the European Country, defendant
15   ABBAS sent electronic messages providing the account information for
16   a bank account in Romania, including the IBANs, and wrote, “I look
17   forward from great result[.]”
18        Overt Act No. 2:       On or about January 18, 2019, in response to
19   a request by UICC 1 about the “maximum amount” the Romanian bank
20   account could “handle in 24hr,” defendant ABBAS sent an electronic
21   message stating, “It’s for large amounts[.]”
22        Overt Act No. 3:       On or about January 18, 2019, in response to
23   statements by UICC 1 that “[m]y associates want u to clear as soon it
24   hits . . . Cuz a recall can be,” and “if they don’t notice we keep
25   pumping,” defendant ABBAS sent an electronic message stating, “Good.”
26        Overt Act No. 4:       On or about February 10, 2019, after UICC 1
27   had told defendant ABBAS that he had “6 slots in total [¶] all 5m
28   euro,” and needed additional bank accounts to receive “big hit in

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 1   12th feb” that would “all credit same time,” defendant ABBAS, in an

 2   electronic message, provided the account information for a bank

 3   account in Bulgaria, including the IBANs.

 4        Overt Act No. 5:       On or about February 12, 2019, after UICC 1

 5   had told defendant ABBAS that €500,000 had been wired to the Romanian
 6   bank account that defendant ABBAS had provided, defendant ABBAS
 7   stated, in an electronic message, “Ok let me hit my people up.”
 8        Overt Act No. 6:       On or about February 12, 2019, after UICC 1
 9   told defendant ABBAS that the fraudulent wire transfer of €500,000
10   had come from the Foreign Financial Institution, and that “we still
11   have access and they didn’t realize , we gonna shoot again tomoro
12   am,” defendant ABBAS confirmed, through an electronic message, that
13   UICC 1 should continue to use the Romanian bank account to receive
14   funds, stating, “Yes please[.]”
15        Overt Act No. 7:       On or about February 12, 2019, defendant
16   ABBAS sent UICC 1 an electronic message containing a photograph
17   showing a computer screen displaying the website of a Romanian bank,
18   which picture contained account numbers -- including IBANs -- and
19   account balances for the Romanian bank account.
20        Overt Act No. 8:       On or about February 13, 2019, defendant
21   ABBAS sent UICC 1 an electronic message containing a screenshot
22   displaying the website of a Romanian bank, which picture contained
23   account numbers -- including IBANs -- and account balances for the
24   Romanian bank account.
25        Overt Act No. 9:       On or about March 10, 2019, in response to
26   messages from UICC 1 requesting a bank account in Dubai for “5m” and
27   stating “Brother I need it now or we will lose our chance pls,”
28   defendant ABBAS, through an electronic message, provided account

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 1   information for a bank account in Dubai, including an account number

 2   and IBAN.

 3        Overt Act No. 10:       On or about May 8, 2019, in response to

 4   requests from UICC 1 for a bank account that could be used in a
 5   scheme to “swap” the account on file and that the account be able to
 6   “handle millions and not block,” defendant ABBAS sent UICC 1 an
 7   electronic message containing the account information for a bank
 8   account in Mexico, including the account number and IBAN.
 9        Overt Act No. 11:      On or about May 13, 2019, after UICC 1 told
10   defendant ABBAS that the bank account in Mexico would be used to
11   receive ǧ100 million from the Victim English Premier League Club and
12   ǧPLOOLRQIURPWKH9LFWLP8.&RPSDQ\DQGUHTXHVWHGDQRWKHUEDQN
13   account that could be used to receive fraudulent wire transfers,
14   defendant ABBAS sent UICC 1 electronic messages stating, in part in
15   coded language, that defendant ABBAS could not simply “keep
16   collecting” bank accounts from other coconspirators and “keep asking
17   for more,” and further stating that the bank accounts “cost a lot of
18   money now to open.”
19        Overt Act No. 12:      On or about May 13, 2019, after UICC 1 told
20   defendant ABBAS about the Victim English Premier League Club and the
21   Victim U.K. Company, and also stated that UICC 1 had “10 more to do”
22   and thus was “putting 2 contracts on each acc,” defendant ABBAS
23   agreed, through an electronic message, to provide additional bank
24   accounts if the fraudulent transfers from the Victim English Premier
25   League Club and the Victim U.K. Company were successful.
26        Overt Act No. 13:      On or about October 15, 2019, defendant
27   ABBAS or a coconspirator fraudulently induced the Victim Law Firm to
28   wire transfer approximately $922,857.76, from its account at Quontic

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 1   Bank, held in the State of New York, to the Chase Account, which was

 2   opened in the name of a person other than ABBAS or UICC 1.

 3        Overt Act No. 14:      On or about October 17, 2019, defendant

 4   ABBAS sent UICC 1, through an electronic message, a photograph of a
 5   wire transfer confirmation relating to a wire transfer of
 6   approximately $396,050 from the Chase Account to the CIBC Account,
 7   which was opened in the name of UICC 2.
 8        Overt Act No. 15:      On or about October 17, 2019, while UICC 2
 9   was within the Central District of California, UICC 1 informed UICC
10   2, through an electronic message, to look for a wire transfer of
11   approximately $396,050 to the CIBC Account.
12        Overt Act No. 16:      On or about October 17, 2019, while within
13   the Central District of California, UICC 2 informed UICC 1, through
14   an electronic message, that the sum of approximately $396,050 had
15   been credited to the CIBC Account.
16        Overt Act No. 17:      On or about October 17, 2019, UICC 1 told
17   defendant ABBAS, through an electronic message, that the wire
18   transfer of approximately $396,050 from the Chase Account to the CIBC
19   Account had been completed.
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 1                                      COUNT TWO

 2                               [18 U.S.C. § 1956(h)]

 3         14.   The United States Attorney re-alleges and incorporates here

 4   paragraphs 1 through 9 of the Introductory Allegations of this

 5   Information.

 6   A.    OBJECTS OF THE CONSPIRACY

 7         15.   Beginning on an unknown date, no later than on or about
 8   January 16, 2019, and continuing until on or about October 17, 2019,
 9   in Los Angeles County, within the Central District of California, and
10   elsewhere, defendant ABBAS, and unindicted coconspirator #1 (“UICC
11   1”) and unindicted coconspirator #2 (“UICC 2”), together with others
12   known and unknown to the United States Attorney, knowingly conspired:
13               a.   to conduct and attempt to conduct financial
14   transactions, affecting interstate and foreign commerce, knowing that
15   the property involved in the financial transactions represented the
16   proceeds of some form of unlawful activity, which, in fact, involved
17   the proceeds of specified unlawful activity -- namely, wire fraud, in
18   violation of Title 18, United States Code, Section 1343 -- and
19   knowing that the transactions were designed in whole and in part to
20   conceal and disguise the nature, location, source, ownership, and
21   control of the proceeds, in violation of Title 18, United States
22   Code, Section 1956(a)(1)(B)(i);
23               b.   to transport, transmit, and transfer, and attempt to
24   transport, transmit, and transfer, funds from a place in the United
25   States to a place outside of the United States, knowing that the
26   property involved in the financial transactions represented the
27   proceeds of some form of unlawful activity, and which property was,
28   in fact, the proceeds of specified unlawful activity -- namely, wire

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 1   fraud, in violation of Title 18, United States Code, Section 1343 --

 2   and knowing that the transportation, transmittal, and transfer were

 3   designed in whole and in part to conceal and disguise the nature,

 4   location, source, ownership, and control of the proceeds, in

 5   violation of Title 18, United States Code, Section 1956(a)(2)(B)(i);

 6   and

 7               c.     to engage and attempt to engage in monetary

 8   transactions involving criminally derived property of a value greater

 9   than $10,000, affecting interstate and foreign commerce, which was

10   derived from specified unlawful activity -- namely, wire fraud, in

11   violation of Title 18, United States Code, Section 1343 -- and

12   knowing that the funds represented the proceeds of some form of

13   unlawful activity, in violation of Title 18, United States Code,

14   Section 1957.

15   B.    THE MANNER AND MEANS OF THE CONSPIRACY

16         16.   The objects of the conspiracy were to be accomplished, in
17   substance, as follows:
18               a.     The United States Attorney re-alleges and incorporates
19   here paragraphs 12.a through 12.e of Section B of Count One of this
20   Information.
21   C.    OVERT ACTS
22         17.   In furtherance of the conspiracy, and to accomplish its
23   objects, defendant ABBAS, and UICC 1 and UICC 2, together with others
24   known and unknown to the United States Attorney, on or about the
25   dates set forth below, committed and caused to be committed various
26   overt acts, in the Central District of California and elsewhere,
27   including, but not limited to, the following:
28   //

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 1         Overt Act Nos. 1–17:     The United States Attorney re-alleges and

 2   incorporates here Overt Act Number 1 through Overt Act Number 17 of

 3   Section C of Count One of this Information.

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 1                                     COUNT THREE

 2                      [18 U.S.C. §§ 1956(a)(2)(B)(i); 2(a)]

 3         18.   The United States Attorney re-alleges and incorporates here

 4   paragraphs 1 through 9 of the Introductory Allegations of this

 5   Information.

 6         19.   On or about October 17, 2019, in Los Angeles County, within

 7   the Central District of California, and elsewhere, defendant ABBAS,

 8   together with unindicted coconspirator #1 and unindicted

 9   coconspirator #2, and others known and unknown to the United States

10   Attorney, each aiding and abetting the other, transported,

11   transmitted, and transferred, and attempted to transport, transmit,

12   and transfer, money from a place in the United States to and through

13   a place outside the United States -- namely, a wire transfer of

14   approximately $396,050 from the Chase Account to the CIBC Account --

15   knowing that the property involved represented the proceeds of some

16   form of unlawful activity, and which transactions, in fact, involved

17   the proceeds of specified unlawful activity, namely, wire fraud, in

18   violation of Title 18, United States Code, Section 1343, and knowing

19   that the transportation, transmission, and transfer was designed in

20   whole and in part to conceal and disguise the nature, location,

21   source, ownership, and control of such proceeds.

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 1                                     COUNT FOUR

 2                             [18 U.S.C. §§ 1957; 2(a)]

 3         20.   The United States Attorney re-alleges and incorporates here

 4   paragraphs 1 through 9 of the Introductory Allegations of this

 5   Information.

 6         21.   On or about October 17, 2019, in Los Angeles County, within

 7   the Central District of California, and elsewhere, defendant ABBAS,

 8   together with unindicted coconspirator #1 and unindicted

 9   coconspirator #2, and others known and unknown to the United States

10   Attorney, each aiding and abetting the other, knowingly engaged in,

11   attempted to engage in, and caused others to engage in and attempt to

12   engage in a wire transfer of approximately $396,050 from the Chase

13   Account to the CIBC Account, in and affecting interstate and foreign

14   commerce, in criminally derived property of a value greater than

15   $10,000, such property having been derived from specified unlawful

16   activity, namely, wire fraud, in violation of Title 18, United States

17   Code, Section 1343, knowing that the funds involved represented the

18   proceeds of some form of unlawful activity.

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 1                             FORFEITURE ALLEGATION ONE

 2              [18 U.S.C. § 981(a)(1)(C) and 28 U.S.C. § 2461(c)]

 3         1.   Pursuant to Rule 32.2 of the Federal Rules of Criminal

 4   Procedure, notice is hereby given that the United States of America

 5   will seek forfeiture as part of any sentence, pursuant to Title 18,

 6   United States Code, Section 981(a)(1)(C) and Title 28, United States

 7   Code, Section 2461(c), in the event of the defendant’s conviction of

 8   the offense set forth in Count One of this Information.

 9         2.   The defendant, if so convicted, shall forfeit to the United

10   States of America the following:

11              (a)   all right, title, and interest in any and all

12   property, real or personal, constituting, or derived from, any

13   proceeds traceable to the offenses; and

14              (b)   To the extent such property is not available for

15   forfeiture, a sum of money equal to the total value of the property

16   described in subparagraph (a).

17         3.   Pursuant to Title 21, United States Code, Section 853(p),

18   as incorporated by Title 28, United States Code, Section 2461(c), the

19   defendant, if so convicted, shall forfeit substitute property, up to

20   the value of the property described in the preceding paragraph if, as

21   the result of any act or omission of the defendant, the property

22   described in the preceding paragraph or any portion thereof

23   (a) cannot be located upon the exercise of due diligence; (b) has

24   been transferred, sold to, or deposited with a third party; (c) has

25   been placed beyond the jurisdiction of the court; (d) has been

26   substantially diminished in value; or (e) has been commingled with

27   other property that cannot be divided without difficulty.

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 1                             FORFEITURE ALLEGATION TWO

 2                    [18 U.S.C. § 982 and 28 U.S.C. § 2461(c)]

 3         1.   Pursuant to Rule 32.2(a) of the Federal Rules of Criminal

 4   Procedure, notice is hereby given that the United States will seek

 5   forfeiture as part of any sentence, pursuant to Title 18, United

 6   States Code, Section 982(a)(1) and Title 28, United States Code,

 7   Section 2461(c), in the event of the defendant’s conviction of the

 8   offenses set forth in any of Counts Two through Four of this

 9   Information.

10         2.   The defendant, if so convicted, shall forfeit to the United

11   States of America the following:

12              (a)   Any property, real or personal, involved in such

13   offense, and any property traceable to such property; and

14              (b)   To the extent such property is not available for

15   forfeiture, a sum of money equal to the total value of the property

16   described in subparagraph (a).

17         3.   Pursuant to Title 21, United States Code, Section 853(p),

18   as incorporated by Title 18, United States Code, Section 982(b)(1),

19   and Title 18, United States Code, Section 982(b)(2), the defendant,

20   if so convicted, shall forfeit substitute property, if, by any act or

21   omission of the defendant, the property described in the preceding

22   paragraph, or any portion thereof: (a) cannot be located upon the

23   exercise of due diligence; (b) has been transferred, sold to, or

24   deposited with a third party; (c) has been placed beyond the

25   jurisdiction of the court; (d) has been substantially diminished in

26   value; or (e) has been commingled with other property that cannot be

27   divided without difficulty.      Substitution of assets shall not be

28   ordered, however, where the convicted defendant acted merely as an

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 1   intermediary who handled but did not retain the property in the

 2   course of the money laundering offense unless the defendant, in

 3   committing the offense or offenses giving rise to the forfeiture,

 4   conducted three or more separate transactions involving a total of

 5   $100,000.00 or more in any twelve-month period.

 6

 7                                      NICOLA T. HANNA
                                        United States Attorney
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 9

10                                      CHRISTOPHER D. GRIGG
                                        Assistant United States Attorney
11                                      Chief, National Security Division
12                                      CAMERON L. SCHROEDER
                                        Assistant United States Attorney
13                                      Chief, Cyber & Intellectual Property
                                          Crimes Section
14
                                        ANIL J. ANTONY
15                                      Assistant United States Attorney
                                        Deputy Chief, Cyber & Intellectual
16                                        Property Crimes Section
17                                      JOSEPH B. WOODRING
                                        Assistant United States Attorney
18                                      Cyber & Intellectual Property Crimes
                                          Section
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